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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

UNITED STATES DISTRICT COURT

for the

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FEB 26 2021 V

KU S DISTRICT COURT
CRP See eONe

 

District of ARIZONA __ BY DEPUTY

_PHOENIX

DAVONNE WILLIAMS

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
Please write “see attached” in the space and attach an additional
page with the full list of names.)
-\V-

COTS, PHOENIX DREAM CENTER, WALT RATTRAY,
TOMMY BARNETT

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names, Do not include addresses here. }

 

 

Division

CV21-00341-PHX-SPL

(to be filled in by the Clerk's Office)

Case No.

 

Jury Trial: (check one) [Vv] ves []No

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date: the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any

other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accom

forma pauperis.

panied by the filing fee or an application to proceed in

 

 

 

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

 

 

 

DAVONNE WILLIAMS

232 S 12TH ST

PHOENIX AZ 85007
City State Zip Code

MARICOPA

 

608-590-2175
mosheikh100@gmail.com

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1

Name
Job or Title (if known)
Address

County
Telephone Number

E-Mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

COTS (CHURCH ON THE STREET)
RELIGIOUS ORGANIZATION / NON-PROFIT
3210 GRAND AVE.

 

 

 

 

 

 

PHOENIX AZ 85017
City State Zip Code

MARICOPA

(602) 257-8918

http://cotsphoenix.org

 

[| Individual capacity Official capacity

PHOENIX DREAM CENTER
RELIGIOUS ORGANIZATION / NON-PROFIT

 

 

 

 

3210 GRAND AVE.

PHOENIX AZ 85017
City State Zip Code

MARICOPA

 

(602) 346-8701
info@dreamcitychurch.us

[| Individual capacity Official capacity

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Pro Se 15.(Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

 

Defendant No. 3

 

 

 

 

 

 

Name WALT RATTRAY
Job or Title Gf known) OWNER / FOUNDER OF CHURCH ON THE STREET
Address 3210 GRAND AVE.

PHOENIX AZ 85017

City State Zip Code

County MARICOPA
Telephone Number (602) 257-8918
E-Mail Address (ifknown) mail@cotsphoenix.com

 

Individual capacity [| Official capacity

Defendant No. 4

 

 

 

 

 

 

Name TOMMY BARNETT
Job or Title (if known) OWNER / FOUNDER
Address 3210 GRAND AVE.
PHOENIX AZ 85017
City State Zip Code
County MARICOPA
Telephone Number (602) 346-8701
E-Mail Address (if known} info@dreamcitychurch.us

 

Individual capacity [ ] Official capacity

II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[__] Federal officials (a Bivens claim)
State or local officials (a § 1983 claim)

B, Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

1ST ADMENDMENT
TITLE Vil OF THE CIVIL RIGHTS ACT OF 1964
H.R.1308 - Religious Freedom Restoration Act of 1993

 

C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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SEE ATTACH:

 

D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.
COTS, WALT RATTRAY, PHOENIX DREAM CENTER, TOMMY BARNETT, acted together to violate
my 1st amendment rights by forcing me to comply with a strict Religious Church Schedule that did not
comply with my religious beliefs or schedule in order to gain and maintain access to critical life
resources such as food, bed, safety and shelter although | clearly indicated that it violated my 1st
amendment rights and did not want to attend these services and was doing so only because | was just gy

Il. Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

 

A. Where did the events giving rise to your claim(s) occur?
COTS
PHOENIX DREAM CENTER
B. What date and approximate time did the events giving rise to your claim(s) occur?

JANUARY 8TH, 2021 - FEBRUARY 23, 2021

END DATE IS NOT AVAILABLE BECAUSE (1) PLAINTIFF STILL RESIDES AT SHELTER, HOWEVER
IS UNDER CONSPIRACY OF BEING PUT OUT DUE TO MISSING CHURCH AFTER NEXT TIME HE
PAYS RENT

 

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

-On January 4th, 2021 | was evicted from my apartment and became homeless

-For 4 days | went to CASS and called other homeless men shelter programs in the Phoenix area
looking for a bed only to be told there were none and literally slept on the streets, including concrete,
grass and park benches

- On January 8th, 2021 | found out about COTS through the Phoenix Dream and it was there | found a
bed that would be available to me for 15 days so long as | went to Christian Church services everyday,
including twice on Sunday although | express that this was against my religious faith | was told that |
would not be allowed to services unless | accepted and agreed to do so. The day | entered | was in
desperate need of hygiene supplies and a shower as well as food and rest. My calves were so swollen
that | could barely stand up and walk from being moved from one loitering spot sleeping, or resting and
walking miles each day just to keep from trespassing or loitering on the bus stops, as well as bus stop
benches where | was being thrown out of by bus drivers or bus patrons who filled the shed that | was
too-embarrassed to-appearhomeless-in-front of. Ea

 

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lH. ATTACHMENT LETTER

My name is Davonne Williams. I am a 39 year old Black
male of Islamic religion who recently became homeless on
January 4th, 2021 after being evicted from his apartment for 2
months of unpaid rent after becoming infected with Covid-19
and the consequential joblessness and lack of employment
opportunity stemming from it due to the ongoing Coronavirus
pandemic. Continuously for the past 45 days and counting
beginning on January 8th, 2021 my constitutional rights have
been violated by a homeless men's shelter titled Church on the ~
Streets and The Phoenix Dream Center. The latter 30 days of
which I have been enrolled in the working men’s "privilege"
program which I pay an additional fee of $50 per week to
have extra privileges (many of which I still don't receive) yet
still must comply with strict Bible and Church related events
which I am forbidden my work schedule must not prevent
or interfere with me attending at least 2 Bible Studies and 2
Church services held at The Phoenix Dream Center.

My grievance with Church on the Streets at 4006 Van Buren
St, Phoenix AZ 85009, a satellite operation homeless shelter
for men headquartered at 3210 NW Grand AVE, Phoenix AZ
85017 both owned and operated by Pastor Walt Rattray and
The Phoenix Dream Center also located at 3210 NW

Grand AVE., Phoenix, AZ 85017 and owned by Tommy
Barnett is that they unlawfully took advantage of me in critical
life circumstances seeking food, safety, bed and shelter after

 
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literaliy sleeping on the ground, park benches or wherever else
under intense duress, by forcing me to participate in a Bible
Boot Camp that was originally designed and promoted on
their website for work release prisoners, in order to gain and
maintain vital help services through their religious non-profit
homeless shelter program when no one’s else was available.
As a free citizen under no state or federal probation or parole
penalty, I feel this fully violated my constitutional rights.
Since being at this facility I have been harassed, warned, and
even bullied nearly every day that if J miss Church service
protocols I will be rolled up, and put out for 30 days. And that
if I come back proclaiming to still be Muslim and exempt _
from attending Church services that I will not be allowed to
Stay.
: i faye
MONDAY---BIBLE STUDIES HERE AY MISSION 6:30PM

TUESDAY---DREAM CENTER 6:05 PM
a,

WEDNESDAY---DREAM CITY CHURCH 5:05PM
\
THURSDAY---BIBLE STUDIES HERE AT MISSION 6:50PM

FRIDAY---BIBLE STUDIES HERE AT MISSION 6:3') PM
SATURDAY---DREAM CENTER 6:05 PM
“SUNDAY---BIBLE STUDIES HERE AT MISSION 10AM

DREAM CENTER 5:05PM
D

NE arHey CHOOSES

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IV.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Emotional Distress- from violation of my 1st amendment rights, as well as harassment, bullying and threats due
to me opposing the Church mandate requirement in order to maintain a bed. | have been under constant threat
of being "rolled up" or put out since | got there for not attending church related events, even though | am working
8-10 hour shifts to cover my rent and try to save to fight my eviction, and find housing to get back on my feet.

invasion of Privacy because often times my mail would be left on my bed opened including my birth certificate
which was FED-Ex which | found clearly opened and resealed underneath my mattress which | had put there
unopened. A letter from my financial bank card institution was also opened and left on my bed before I returned
when usually mail is held at the desk and handed to you upon request. Privileges that are supposed to be
included in the working men's program inciuding access to a personal locker and bunk in the working men's
dorm has been denied to me, on the arbitrary basis that | have to prove my worthiness in order to gain such.
Although | pay | am still sleeping in the general housing area. | believe these privileges have been denied to me
too because of my opposition to the Church mandate. | am currently sleeping in Bunk 7 which is not located in
the working mens dorm which is supposed to be included in the program. There are several beds and lockers
open. The Resident Officials and long term dorm residents of this program hog these lockers with some having
as many as 8, even though any one thats apart of the working men’s program is supposed to have one. There
are also plenty of bunks opened in this room.

 

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

| am seeking $190,000 dollars for violations of civil rights, harassment and emotional distress, as well as
additional religious discrimination because | believe the reason | have not been granted access to all the features
of the working men's program is because | declare a Muslim faith that Christianity opposes and that they simply
do not like me for various reasons because of it.

| am also seeking any torts for violations that the court deems rule-able in my favor up to and including the
closure of the Church On The Street program which {| do not believe should be operating legally.

 

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: 02/23/2021

Signature of Plaintiff Asc : Hb Jf LA dpi

Printed Name of Plaintiff / Mule 1, ie Mitte A aa GF

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

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